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UNITED STATES DISTRICT COURT . ELECTRONICABLY FILED
SOUTHERN DISTRICT OF NEW YORK DOC #:
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UNITED STATES OF AMERICA, QATE FILED: 3\/ 2A

-against- 1i-cv-0691 (LAK)
STEVEN DONZIGER,
Defendant.
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ORDER OF APPOINTMENT

LEWIS A. KAPLAN, District Judge.

WHEREAS, the Court by order issued today is directing Steven Donziger to show cause why
he should not be held in criminal contempt of court, and

WHEREAS, the Court previously tendered to the United States Attorney for the Southern
District of New York the prosecution of Steven Donziger for criminal contempt of court and

WHEREAS, the United States Attorney “respectfully decline[d] on the ground that the matter
would require resources that we do not readily have available,” it is hereby

ORDERED, pursuant to Fed. R. Crim. P. 42(a)(2) and the inherent power of the Court, that
Rita M. Glavin, Brian Maloney, and Sareen Armani are hereby appointed to prosecute Steven Donziger on the
charges of criminal contempt of court set forth in the Order to Show Cause, dated today, and it is further

ORDERED, that these attorneys shall have the same power to investigate, gather evidence

to issue or procure issuance of subpoenas and apply for and execute or cguse the exqcutiog of search warrants.
Dated: July 36, 2019 di

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Lewis A. Kap
United States District Judge

and present it to the Court as could any other government prosecutor including, Ht the power

 
